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Suzanne Daquila

From: Suzanne D'Aquila [snd@brownbuchanan.com]

Sent: Wednesday, September 09, 2009 1:46 PM

To: ‘Haley Broom'

Ce: ‘Joe Gewin’; ‘Patrick R. Buchanan’; Mark Watts (mvw@brownbuchanan.com)
Subject: RE: Ken Katsaris

How is it coming with dates for deposition for Katsaris and Ciota?
Thank you,

Suzanne D'Aquila

Paralegal
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Phone (228) 374-2999

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From: Suzanne D'Aquila [mailto:snd@brownbuchanan.com]
Sent: Tuesday, September 08, 2009 2:30 PM

To: 'Haley Broom’ .

Cc: ‘Joe Gewin'

Subject: RE: Ken Katsaris .

Haley ~ In addition to the rate sheet.for Katsaris, please provided dates for deposition for Ken Katsaris and for Megan
Ciota. o oe

Thank you.

From: Suzanne D'Aquila [mailto:snd@brownbuchanan.com]
Sent: Tuesday, September 08, 2009 10:23 AM

To: 'Haley Broom’

Subject: Ken Katsaris

Haley — Did you provided us with a rate sheet for Mr. Katsaris? | reviewed the designations from last December and the
recent ones and did not find one, but | could have missed it.

Thank you!

Suzanne D'Aquila

Paralegal

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